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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 NATIONAL ASSOCIATION FOR HOME
 CARE & HOSPICE,

                        Plaintiff,

                        v.                            Case No. 1:23-cv-01942 (TNM)

 XAVIER BECERRA, in his official capacity
 as Secretary of Health & Human Services,

                        Defendant.

                                            ORDER

       Upon consideration of Plaintiff’s Motion for Summary Judgment, ECF No. 15,

Defendant’s Cross-Motion for Summary Judgment, ECF No. 18, the pleadings, and the relevant

law, it is hereby

       ORDERED that Plaintiff’s Motion for Summary Judgment is DENIED; and it is further

       ORDERED that Defendant’s Cross-Motion for Summary Judgment is GRANTED to the

extent discussed in the accompanying Memorandum Opinion.

       The Clerk of Court is requested to close this case. This is a final, appealable order. See

Fed. R. App. P. 4(a).

       SO ORDERED.

                                                                         2024.04.26
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Dated: April 26, 2024                                TREVOR N. McFADDEN, U.S.D.J.
